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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION



In re INTEL CORP. CPU MARKETING,                             Case No.: 3:18-md-02828-SI
SALES PRACTICES AND PRODUCTS
LIABILITY LITIGATION
                                                            NOTICE OF WITHDRAWAL
This Motion Relates to Case No. 6:18-cv-
00028-SI

         NOTICE IS HEREBY GIVEN that attorney Amy Joseph Pedersen, Oregon Bar No.

853958, hereby withdraws as counsel for defendant Intel Corporation in the above-captioned

matter. Steven T. Lovett, Rachel C. Lee, and Stoel Rives LLP continue to represent defendant

Intel Corporation in this matter.
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         NOTICE IS ALSO HEREBY GIVEN that Steven T. Lovett shall assume the

responsibility of Oregon counsel in the matter of the petitions for Pro Hac Vice admission of

Daniel F. Katz and David Kurtzer-Ellenbogen in this matter.

         DATED: April 11, 2018.

                                             STOEL RIVES LLP



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